                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
          v.                                   )        No. 24-mj-2388
                                               )
                                               )        JUDGE HOLMES
SKYLER PHILIPPI                                )

                 UNITED STATES’ MOTION FOR A DETENTION HEARING
                      AND FOR DETENTION OF THE DEFENDANT

          COMES NOW the United States of America by Thomas J. Jaworski, United States Attorney,

and Joshua A. Kurtzman, Assistant United States Attorney, and moves this Court for detention of

the Defendant under 18 U.S.C. § 3142(f)(1)(A) & (B). For cause, the United States submits that

the Defendant is charged in the Criminal Complaint with two offenses listed in Title 18, United

States Code, Section 2332b(g)(5)(B) for which a maximum term of imprisonment of life

imprisonment is prescribed. As such, since these offenses are enumerated under § 3142(f)(1), there

is no question that the Government is entitled to a detention hearing on this matter.

          Additionally, the United States would submit that – by operation of 18 U.S.C.

§ 3142(e)(3)(C) – a rebuttable presumption exists before this court that “no condition or

combination of conditions will reasonably assure the safety of any other person and the

community.” The United States intends to rely on the presumption at the detention hearing in this

matter.

          The United States also respectfully requests that, should a hearing be necessary, the Court

grant the United States a continuance in this matter of three days so that the United States may

adequately prepare for the hearing on this motion.




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                                                     Respectfully submitted,

                                                     THOMAS J. JAWORSKI
                                                     United States Attorney

                                              By:     /s/ Joshua A. Kurtzman
                                                     JOSHUA A. KURTZMAN
                                                     Assistant U.S. Attorney
                                                     719 Church Street, Suite 3300
                                                     Nashville, Tennessee 37203


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing will be served electronically
and by hand to counsel for defendant via CM/ECF on November 4, 2024.

                                                     /s/ Joshua A. Kurtzman
                                                     JOSHUA A. KURTZMAN




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